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                               United States District Court
                                      NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

    DEMARCUS KENARD JOE,                                 §
    TDCJNo. 1047716                                      §
                                                         §
    V.                                                   §     CIVIL ACTION NO. 3:20-CV-3524-S-BN
                                                         §
    U.S. FIFTH CIRCUIT COURT OF                          §
    APPEALS                                              §

              ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
         RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

         The United States Magistrate Judge made findings, conclusions, and a recommendation in

this case.    No objections were filed.           The District Court reviewed the proposed findings,

conclusions, and recommendation for plain error.                 Finding none, the Court ACCEPTS the

Findings, Conclusions, and Recommendation of the United States Magistrate Judge. 1

         SO ORDERED.

         SIGNED January 11, 2021.



                                                                NITED STATES DISTRICT JUDGE




1
  The Cout1 notes that on December 14, 2020, Petitioner filed another document appearing to request that the Com1
issue a writ of mandamus regarding another case. See ECF No. 5. Construing Petitioner's filing as such, for the same
reasons set forth in the Findings, Conclusions, and Recommendation of the United States Magistrate Judge
[ECF No. 4], the Court finds that it lacks subject matter jurisdiction.
